          Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 1 of 27



                          UNITED STATES DISTRICT COURT
                                                       for the
                                            Southern District of Illinois

   Francis Schaeffer Cox                                 )
                                                         )
                                                         )
                                                                 CaseNumber:           /1-{pJ/- DRf:l- RJD
                                                                                        (Oerk's Office will provide)
                                                         )
                  Plaintiff/Petitioner(s)                )       0 CIVIL RIGHTS COMPLAINT
                                                                 pursuant to 42 U.S.C. §1983 (State Prisoner)
   Executive Offiv~e for US     ))                               0 CIVIL RIGHTS COMPLAINT
        Attorneys                                                pursuant to 28 U.S.C. §1331 (Federal Prisoner)
   Bureau of Alcohol, Tobacco,, ))                               g~   CIVIL COMPLAINT
        and, Firearms                                            pursuant to the Federal Tort Oaims Act,
   Federal ~~e~~~estigatiorl                                     28 U.S. C. §§1346, 2671-2680, or other law

                                                                 Freedom Of Information Act
. I.                                                             5 USC §552, 552a
          JURISDICTION

          Plaintiff:

          A.   Plaintiff's mailing address, register number, and present place of
               confinement
                   Fran6is Schaeffer Cox #16179-006
                   USP-Marion
                   PO Box 1000
                   Marion, I~ 62959
          Defendant #1:

          B.      Defendant Executive otfi ce of us Attorneys is employed as
                                             (a)      (Name of First Defendant)

                    Agency of the US Federal Government
                                             (b)             (Position/Title)

                  wiili             US Federal Government
                                             (c)      (Employer's Name and Address)
                                   600 E st, NW Su~te 7300
                                   Washington, DC 20530-0001

                  At the time ilie claim(s) alleged this complaint arose, was Defendant #1
                  employed by the state, local, or federal government? OI:Yes       0 No

                  If your answer is YES, briefly explain:
                  Defendant is an agency of the federal government.



  (Rev. 7/2010)                                                  1
        Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 2 of 27



         Defendant #2:

        c.      Defendant     Bureau of Alcohol, Tobacco, and, is employed as
                              Firearms
                                    (Name of Second Defendant)

                      Agency of the US Federal Government
                                            (Position/Title)

                ~fu         US Federal Government
                                    (Employer's Name and Address)
                            99 New York Ave, NE Room 4.E-301
                            Washington, DC 20226

                At fue time fue daim(s) alleged in this complaint arose, was Defendant #2
                employed by the state, local, or federal government? KJ Yes      0 No

                If you answer is YES, briefly explain:
                       Defendant is an agency of the federal government.




        Additional Defendant(s) (if any):

        D.      Using the outline set forth above, identify any additional Defendant(s).

                 Federal Bureau of Investigation
                 170 Marcel Dr
                 Winchester, VA 22602-4483




(Rev. 7/2010)                                        2
        Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 3 of 27



II.      PREVIOUS LAWSUITS

         A.     Have you begun any other lawsuits in state or federal court relating to
                your imprisonment?                              ~Yes     0 No

         B.     If your answer to "A" is YES, describe each lawsuit in the space below. If
                there is more than one lawsuit, you must describe the additional lawsuits
                on another sheet of paper using the same outline. Failure to comply with
                this :provision may result in summary denial of your complaint

                1.       Parties to previous lawsuits:
                         Plaintiff(s):
                          Prior FOIA Lawsuit: Francis Cox, Plaintiff
                          Prior 1983 Lawsuit: Francis Cox, Plaintiff

                         Defendant(s):
                          FOIA: Department of Justice
                          1983: William True, et al

                2.       Court (if federal court, name of the district; if state court, name of
                         the county):
                          Both: Southern District of Illinois
                3.       Dotket number:
                     ~   FOIA: 15-cv-1233-JPG; 1983: 17-cv-338-JPG
                4.       Name of Judge to whom case was assigned:
                          J Phil .Gilbert
                5.       Type of case (for example: Was it a habeas corpus or civil rights
                         action?):
                          FOIA, and, 1983/Bivens/APA

                6.       Disposition of case (for example: Was the case dismissed? Was it
                         appealed? Is it still pending?):
                          FOIA:   settled favorably, and, voluntary dismis-
                                     sal
                          1983: pending PLRA screen
                7.       Approximate date of filing lawsuit
                          FOIA: early 2016; 1983: 3/30/2017
                8.       Approximate date of disposition:
                          FOIA: 5/31/2017;           1983:      pending




(Rev. 7/2010)                                         3
         Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 4 of 27



III.     GRIEVANCE PROCEDURE

         A.      Is there a prisoner grievance procedure in the institution?   ~Yes     0 No

         B.      Did you present the facts relating to your complaint in the prisoner
                 grievance procedure?                                       0 Yes       ~No


         C.      If your answer is YES,
                 1.     What steps did you take?




                 2.     What was the result?




         D.      If your answer is NO, explain why not.
                       Prisoner grievance procedures are not appropriate
                 for FOIAs to other agencies. FOIA exhaustion attach-
                 ed.
         E.      If there is p.o prisoner grievance procedure in the institution, did you
                 complain to prison authorities?                              0 Yes :lJ No

         F.      If your answer is _YES,
                 1.     What steps did you take?



                 2.     What was the result?



         G.      If your answer is NO, explain why not.

                       Not appropriate.
         H.      Attach copies of your request for an administrative remedy and any
                 response you received. If you cannot do so, explain why not

                      attached




(Rev. 7 /2010)                                     4
           Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 5 of 27



                               Francis Schaeffer Cox
                                      16179006
                                US PENITENTIARY CMU
                                    PO BOX 1000
                                  MARION, IL 62959

   DAVID iYI.   HARDY
   Section Chief
   Records/Information Dissemination
   Records Managment Division
   Federal Bureau of Investigation
   170 Marcel Dr
   Winchester, VA 22602-4483                                    February 15, 2017


                               RE: FOIA/ PRIVACY ACT

        My name is Schaeffer Cox. I am ~equesting the following· documents
   persuarit to the FOIA/ Privacy Act. I do not wish to reduce the scope
   of the request. I agree to pay all costs. A cerificate of identiy.is
   attached. Please provide the requested documents within 20 days as ·
   required.

-------· ____P~ease provide:

        Any and all documents bearing my name, making reference to me, or
   that are in any way crossreferenced to me.

        For the pJrpose of -this request, please search all variations of
   my name including: Francis August Schaeffer Cox, F. A. Schaeffer Cox,
   Francis Cox, Francis S. =cox, Schaeffer Cox, F. Schaeffer Cox, etc.
      Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17    Page oi
                                                U.S. DejJarlrnan"! 6 Justics
                                                                     of 27




                                                                           :=ederal Sureau of Investigation
                                                                           Washingion, D. C. 20535

                                                                            March 8, 2017

MR. FRANCIS AUGUST SCHAEFFER COX
*"16179-006
USP MARION
POST OFFICE BOX 1000
MARION, IL 62959

                                                                 FOIPA Request No.: 1368413-000
                                                                 Subject: COX, FRANCIS AUGUST
                                                                 SCHAEFFER

Dear Mr. Cox:

        This acknowledges receipt of your Freedom of Information/Privacy Acts (FOIPA) request to the FBI.

         ~        Your request has been received at FBI Headquarters for processing.

         r        Your request has been received at the _ __ Resident Agency/ _ _ _ Field Office and
                  forwarded to FBI Headquarters for processing.

         r       The subject of your request is currently being processed for public release . Documents will
                 be released to you upon completion.

         r        Release s>f responsive records will be made to the FBI's FOIA Library (The Vault),
                  htl!):fvault.fbi.gov, and you will be contacted when the release is posted .
                      •
         r        Your request for a fee waiver is being considered and you will be advised of the decision at
                  a later date. If yo~:~r fee waiver is denied, you will be charged fees in accordance with the
                  category designated below.

                  For the purpose of assessing fees, we have made the fol lowing determination :

                  r        As a commercial use requester, you will be charged applicable search, review, and
                           duplication fees in accordance with 5 USC § 552 (a)(4)(A)(ii)(l).

                  r        As an educational institution , noncommercial scientific institution or representative
                           of the news media requester, you will be charged applicable duplication fees in
                           accordance with 5 USC§ 552 (a)(4)(A)(ii)(ll) .

                           As a general (all others) requester, you will be charged applicable search and
                           duplication fees in accordanc2 with 5 USC § 552 (a)(4)(A)(ii)(lll).

          Please check the status of your FOIPA request at www.fbi.gov/foia by clicking on FOIPA Status and
entering your FOIPA Request Number. Status updates are adjusted weekly. The status of newly assigned
requests may not be available until the next weekly update. If the FOIPA has been closed the notice will
indicate that appropriate correspondence haG been mailed to the address on file.

        For questions regarding our determinations, visi t the www.fbi .aov/foia website under "Contact Us."
The FOIPA Request number listed above has been assigned to your request. Please use this number in all
correspondence concerning your request. Your patience is appreciated.
      CaseYou 1:18-cv-02657-EGS
                may file an appeal by writingDocument
                                              to the Director,2Office
                                                                 Filed    06/09/17Policy
                                                                      of Information      Page    7 United
                                                                                              (OIP), of 27States
Department of Justice, Suite 11050, 1425 New York Avenue, I\IW, Washington, D. C. 20530-0001, or you
may submit an appeal through OIP's FOIAonline portal by creating an account on the following web
site: https://foiaonline.reaulations.gov/foia/action/publiclhome. Youf appeal must ba postmar!<ed or
electronically transmitted within ninety (90) days from the date of this letter in order to be considered timely. If
you submit your appeal by mail, both the letter and the envelope should be clearly marked "Freedom of
Information Act Appeal." Please cite the FOIPA Raquast Number ~:>sig:-:ed to your req•Jest !SO that it may be
easily identified.

          You may seek dispute resolution services by contacting the Office of Government Information
Services (OGIS) at 877-684-6448, or by emailing oqis@nara.gov. Alternatively, you may contact the FBI's
FOIA Public Liaison by emailinq foipaguestions@ic.fbi.gov. If you submit your dispute resolution
correspondence by email, the subject heading should clearly state "Dispute Resolution Services." Plaasa
also cite the FOIPA Request Number assigned to your request so that it may be easily identified.




                                                                   Sincerely,


                                                                     ~
                                                                   David M. Hardy
                                                                   Section Chief,
                                                                   Record/Information
                                                                     Dissemination Section
                                                                   Records Management Division
      Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 8 of 27



                        Francis Schaeffer Cox
                                   loi/SOOo
                         US PENITENTIARY CMU
                             PO BOX 1000
                           MARION, IL 62959
BATF & E FOIA/PA
STEPHANIE BROUCHER
99 New York Ave. N. E.
Room 4. E-301
Washington,,D.C. 20226


                                                           February 15, 2017
                         ;jt 'J..p 1-f- - 0   4-8 7
                        RE: FOIA/ PRIVACY ACT

      My name is Schaeffer Cox. I am ~equesting the following· documents
persuarit to the FOIA/ Pri vacv Act. I do not wis·h to reduce the scope
of the request. I agree to pay all ·costs. A cerifidate bf id~ntiy.is
attached. Please ~rovide the r~quested documents within 20 days as ·
requ-ired.



     Any and all documents bearing my name, making reference to me, or
that are in any war crossreferenced to ~e.

     For the pu~pose of this request, please search all variations of
my name including: Francis August Schaeffer Cox, F. A~. Schaeffer Cox,
Francis Cox, Francis s. :·cox, Schaeffer Cox, F. Schaeffer Co~, etc.



                                        '•
         Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 9 of 27



                                                 U.S. D~partment of Justice

                                                 Bureau of Alcohol, Tobacco,
                                                 Firearms and Explosives




                                                 www.atf.gov


March 15, 2017                                                       REFER TO: 2017-0485

Mr. Francis Schaeffer Cox
16179-006
P.O. Box 1000
US Penitentiary Cmu
Marion, IL 62959-7500

Dear Mr. Cox:

This responds to your Freedom of Information Act ("FOIA")/Privacy Act request dated
February 15, 2017, and received by the Bureau of Alcohol, Tobacco, Firearms and Explosives
("ATF') on March 13, 2017,, in which you requested records concerning you. Your request has
been assigned number 2017-0485. Please refer to this number on any future correspondence.

You have requested records pertaining to yourself. Therefore, you will need to verify your
identity as required by Department regulation 28 C.F.R. § 16.41(d). Specifically, if you would
like this Office to process your request and search for responsive records in this Office, you will
need to either (1) return a completed Form DOJ-361, Certification of Identity, to this Office, or
(2) provide a statement notarized or under penalty of perjury pursuant to 28 U.S.C. § 1746,
indicating your full name, place of birth, date of birth, and current address.

Please return either the Form DOJ -361 or your notarized statement, along with your request, to
the Disclosure Division. You may mail your documents to 99 New York Avenue, NE, Room
4E-301, Washington, DC 20226. You may also fa'{ your documents to (202) 648-9619.
Additionally, you may send any documentation to foia.iTJ.ail@atf.!Zov. Please include the assigned
case number in your email.

In light of these circumstances, I am administratively closing your request in this Office.

For your information, Congress excluded three discrete categories of law enforcement and
national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c). This
response is limited to those records that are subject to the requirements of the FOIA. This is a
standard notification that is given to all our requesters and should not be taken as an indication
that excluded records do, or do not, exist.
        Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 10 of 27
                                               ,..,
                                              -,t.-




Mr. Francis Schaeffer Cox


You may contact our FOIA Public Liaisons, Darryl Webb or Johnny Rosner, at (202) 648-7390,
for any further assistance and to discuss any aspect of your request. Additionally, you may
contact the Office of Government Information Services ("OGIS") at the National Archives and
Records Administration to inquire about the FOIA mediation services they offer. The contact
information for OGIS is as follows: Office of Government Lnformation Services, National
Archives and Records Administration, Room 2510, 8601 Adelphi Road, College Park,
Maryland 20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-
684-6448; or facsimile at 202-741-5769.

If you are not satisfied with my response to this request, you may administratively appeal by
writing to the Director, Office of Information Policy ("OIP"), United States Department of
Justice, Suite 11050, 1425 New York Avenue, NW, Washington, DC 20530-0001, or you may
submit an appeal through OIP's FOIAonline portal by creating an account on the following web
site: https://foiaonline.regulations.gov/foia/action/public/home. Your appeal must be postmarked
or electronically transmitted within 90 days of the date of my response to your request. If you
submit your appeal by mail, both the letter and the envelope should be clearly marked "Freedom
of Information Act Appeal."

                                           Sincerely,



                                    Stephanie M. Boucher
                                   Chief, Disclosure Division

Enclosure
                                                                                       .. ,
                                                                                       ..... -             •.   •     I



      Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 11 of 27                             ·-·.--             : _._.,
                                                                                                          .._., _. ·-·    ./




                                 ..;   - ... - ..........
                                       C I /
                                                        ,- ....
                                                  ~ 'v' ',} •.:;

                          US PENITENTIARY CMU
                              PO BO:X: 1000

BATF & E FOIA/PA
STEPHANIE BROUCHER
99 New York Ave. N. E.
Room 4.E-301
Washington,.D.C. 20226


                                                                                 February 15, 2017


                         RE: F.OIA/ PRIVACY ACT

      My name is Schaeffer Cox. I am ~equesting the following, documents
 persuarit to the FOIA/ Pri v·acy Act. I do not wis·h to reduce the scope
 of the request. I agree to pav all ·costs~ ceri~~ca~e of laenLiV is
:!ttacheCf~:fPlease provide_ the requested d3'cumedLS \'ht:h~n 20 days as
req~-iredO




     Any and all documents bearing my name, making reference to me, or
that are in any way crossreferenced to ~e.
                   jo

     For the purpose of this request, please search all variations of
my name including: Francis August Schaeffer Cox, F. Ai_ Schaeffer Cox,
Francis Cox, Francis s. ~cox, Schaeffer Cox, F. Schaeffer Cox, etc.



                                                                   Thank. You,




                                                                                  ·.
         Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 12 of 27
                                                                                                              (

                                                                                                         ,.,'
                                                                                                       . ·I
                    Executor-Francis-August-Schaeffer-Cox.
                           as One-of-We-the-People
                      Heir/Beneficiary - Creator/Settler
                       as the united-States-of-America
                                  Employer
                               /.;E'_ ....  .L_r·.,..;.}
                               \...:,...:.__. I ~
                                              f'j-; '-........---   .·
                                                                         /t(,.,_.c..,--1
                                                                                       '
                                                                                         b£
                   ==================================
                         7013 2630 0000 0956 1627
                         /c() UJc                    CUc:."G c~i'S.£                162./
                   =================~================


                   To:    -u.s.Department of Justice
                          Executive Office for United States Attorneys
                          Freedom of Information & Privacy Staff
                          600 E Street, N.W.
                          Suite 7300, Bicentennial Building
                          Washington, DC 20530-0001
                   Re:   &,z:i,'A.e~f~t                             &4fjl'e'5s-               z.oo<j
                    FREEDOM OF INFORMATION ACT /PRTVACY Acr
                         5   ~.s.c.            §552          I 5 u.s.c. §552a
                          DEPARTMENT OF JUSTICE - AUSA

I declare with the penalty of perjury by and through 28 u.s.c. §1746 that I, the
requesting party, am the real. party in int~est for Criminal case number CR11-
00022R.JB out of the District of Alaska and am entitled to these documents as a
FOIA or Privacy 'request/ am majority of age, competent for testifying, reserving
all rights for amending for truth, clarity, and justice.     ·

For the purpose of this inquiry, please note that "Francis August Schaeffer Cox, 11
"F .A. Schaeffer Cox," "Francis s. Cox," and "Schaeffer Cox" all refer to the same
guy, Schaeffer Cox.

In accordance with law as codified in Title 5 u.s.c. §552(a)(6) (A)(i) this
response should be sent within twenty ( 20) working days.

In accordance with Title 5 u.s.c. §552{a)(4)(i){I)-{III) the fees for producing
the requested documents shall be reasonable standard charges for document duplica-
tion and advance payment shall not be required in accordance with Title 5 u.s.c.
§552(a) (4) (A) {v).

 If any document(s) of this request are denied, provide each specific exemption
_that justifies your refusal to release the info:rmation and provide me with the
appeal procedures available under law (including redactions) •       ··

If the document(s) requested is(are) now identified by a different designation,
title, heading, etc. consider this request as if it has been requested under its
new designation, title, heading, etc.

'Ihese requested document(s) have an intended use for an Administrative, Security,
or Judicial proceeding and therefore I am requiring of you certification of the
record by and through Form 2866 (Certificate of Official Rec::ord) or if the
document(s) do not exist, a Form 3050 (Certificate of Lack of Record).


                                                    Page 1 of 2
         Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 13 of 27



I am seeking an accounting of all money spent by law enforcement investigations
surrounding an event held in November of 2009 called "Continental Congress 2009"
at Pheasant Run Resort in Illinois, and what information was collected specifically
concerning Schaeffer Cox of Alaskao

I am legally entitled to this information as I am the defendant in case CR11-
00022RJB and this is a material exculpatory matter Ul1..der Brady Vo Ma...rylan...d,
373 US 83, 83 Set ( 1963) , having previously been determined by the Supreme
Court to affect matters of public interest in fair trials that outweigh any
privacy interest of individuals or agencies.

                                                   Respectfully submitted,


Respond to:   FRANCIS COX, 16179-006         By:
              P.O. Box 1000                        Executor-Francis-August-Schaeffer-Cox
              MARION, IL 62959




                                    Page 2 of 2
         Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 14 of 27


                      Executor-Francis-August-Schaeffer-Oox.
                               as One-of-We-the-People
                        Heir /Beneficio..D.f - Creato!:"I Settler
                         as the united-States-of-America. _.                                                              -·'.
                                                                                                                                 . --·         -    '   -
                                         Employer                                                                                  - ~·   ..   ""

                                  i _.,'   ,J      ··f 1/-
                                    c:~r-. ~--r··~~A.
                                              . .:-          M~,,
                                                                 .. .
                                                                                            ~OZ""-
                    :=========;:::;::;::;:::;;:;::;::;::;::;::;::;::;::;::;::;::;::;::;::;::;::;::;::
                                                                                                        A
                                                                                                            'of6 - c:.o I=!-/
                                                                                                            ~             ---·-----·--··

                            7013 2630 0000 0956 8091

                    ==================================
                    To:         U.S. Department of Justice
                                Executive Office for United States Attorneys
                                Freedom of Information & Privacy Staff
                                600 E Street, N.W.
                                Suite 7300, Bicentennial Building
                                Washington, DC 20530-0001
                    Re:      U5Ao .A!.t.-rl~                             A-lf-ll 30 2.                      l'e-,OO·f"f

                      FREEDOM OF INFORMATION ACf /PRIVACY ACT!
                          5 u.s.c. §552 I 5 u.s.c. §552a

                                DEPARTMENT OF JUSTICE - AUSA

I declare with the penalty of perjury by and through 28 u.s.c. §1746 that I, the
requesting party, am the real party in int~est for Criminal case number CR11-
00022R.JB out of the District of Alaska and am entitled to these documents as a
.FOIA or Privacy request; am majority of age, competent for testifying, reserving
all rights for amenBing for truth, clarity, and justice.

For the purpose of this inquiry, please note that "Francis August Schaeffer Cox, 11
11
  .F' .A. Schaeffer Cox," 11Francis s. Cox, 11 and "Schaeffer Cox" all refer to the same
guy, Schaeffer Cox.

In accordance with law as codified in Title 5 u.s.c. §552(a) ( 6) (A) (i) this
response should be sent within twenty (20) working days.

In accordance with Title 5 u.s.c. §552(a)(4)(i)(I)-(III) the fees for producing
the requested documents shall be reasonable stanClard charges for document duplica-
tion and advance payment shall not be required in accordance with Title 5 u.s.c.
§552(a) (4) (A) (V).

 If any document(s) of this request are denied, provide each specific exemption
.that justifies your refusal to release the information and provide me with the
 appeal procedures available under law (including redactions) •     ·

If the document(s) requested is(are) now identified by a different designation,
title, heading, etc. consider this request as if it has been requested under its
new designation, title, heading, etc.

These requested document(s) have an intended use for an Administrative, Security,
or Judicial proceeding and therefore I am requiring of you certification of the
record by and through Form 2866 (Certificate of Official Record) or if the
document(s) do not exist, a Form 3050 (Certificate of Lack of Record).


                                                  Page 1 of 2
            Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 15 of 27




I am requesting any 302 reports which relate to the events of 2-19-11,            c::no::.,-.i-F-i,-.~11   ..
                                                                                  ;_.J..---------~.1

any prepared by FBI S/A Rick Southerland concerning Schaeffer Cox.

Dated:   A~] 0 5 -f IZ. 1-1.-t. 2 0 t5"                 Respectfully submitted,


Respond to:     FRANCIS COX, 16179-006            By:
                                                        =---~--=---~~--~~~--~--~-
                P.O. Box 1000                           Executor-Francis-August-Schaeffer-Cox
                MARION, IL 62959



PS: I am the real party in interest for case number CR11-00022RJB and
therefore entitled to this information as a matter of right pursuant to Brady v.
Maryland, 373 US 83, 83 S.ct 1194 (1963), Kyles v. Whitley, 514 US 419 (1995), and
Giglio v. United States, 405 US 105, 31 L.Ed.2d 104, 92 S.Ct 763 (1972). I am NOT
requesting private or personal information beyond that which I am legally entitled
to.




                                          Page 2 of 2
                               WESTERRAUS - CROSS                      299
                                    Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 16 of WESTERHAUS
                                                                                                27                                                - REDIRECT                       300


     A    Yes.
                                                                                                     agent or others will debrief the confidential human source
 2 Q      That was there?
                                                                                                     and -- and write up         ~rhat    I had referred to as an FD-1023,
 3 A      I remember that specifically being part of the paragraph           r-0- I<JJ-} ~ 3         which is a report of the source • s recollection of the meeting.
 4 where I mentioned that he's a convicted felon.
                                                                             ~..... f:-t!rG 111"'4   That recollection of the meeting then is reviewed against the
 5 Q      So.Magistrate Judge Oravec had the prior felony, yes?
                                                                             A.o t1    ?        5 tape that       ~Tas   made   ~rith    -- with confidential human sources and
 6 A      Yes.
                                                                                                6 the subjects, and that specifically is done in order to
 7 Q      The state felony?
                                                                                                7 corroborate what the source is telling you before a tape is
 8                THE COURT:   I'm sorry.                                                       8 even listened to.
 9   Q    Magistrate Judge Oravec had in the affidavit of the
                                                                                                9 Q       Okay.     With respect to the prior record of 11r. Olson --
10   search warrant the prior felony, yes?                                                     10    A    Yes.
II   A    Yes.
                                                                                               II    Q    -- you received that information from Agent Sutherland-
12   Q    The pending state charges.                                                           12    A    Correct.
13   A    Yes.
                                                                                               13 Q       And he's not the affiant, is he?
14 Q      And that the source was going to be paid sometime in the                             14 A       No, he's not-
15   future.
                                                                                               15 Q       Or the affiant.
16   A    Correct.
                                                                                               16 A       No.
17   Q    Okay.     In the affidavit as well, you made reference to                            17 Q       Okay.
18 recordings, did you not?
                                                                                               18                 MR. SKROCKI:           That's all I have.        Thank you.
19   A    Yes, I did.
                                                                                               19                                 REDIRECT EXA11INATION
20 Q      Tell the judge about that.                                                           20 BY MR. DOOLEY :
21   A    Well, throughout the -- throughout the course of the                                 21    Q    You were testifying about the procedure that is supposed
22 the affidavit, I was specifically referring to consensual                                   22 to happen by which a            c~se     agent handling the informant would
23 monitored meetings that were occurring between J.R. Olson and                               23 do a 302 or a 1225-28 or something.
24 the defendants.       As a part of that process, what we do is,                             24 A       An FD-1023.
25 after a consensual monitored meeting is done, the handling                                  25 Q       FD-1023 in his debriefing of the agent [sic], correct?



                            Gavlene 's W!-l.rt(.S,~~ices                                                                          Gavlene 's    WfJ4 Servic.es
Ca e 3:11-cr-00022-RJB Docume11t 3g8?-Jftr-Jl~!fo/12 Page 134 of 167
                                                                                               ca e 3:11-cr-00022-RJB D_?curne•.n        3g8!-'3'rtr-!J'9!flr'l2 Page 135 of 167
             Case 1:18-cv-02657-EGS DocumentU.S.
                                             2 Filed 06/09/17
                                                 Department      Page 17 of 27
                                                            of Justice
                                                        Executive Office for United States Allorneys
                                                        Freedom ofInformation & Privacy Staff
                                                        600 E Street, N. W.
                                                        Suite 7300, Bicentennial Building
                                                        Washington, DC 20530-0001
                                                         (2011252-6020 FAX: 252-6047 (www.usdoj.gov/usaol


                                                         September 23, 2015

   Francis Cox
   #16179-006
   P.O. BOX 1000
   Marion, Illinois 62959
                                                                                  ~··
           Re: Request Number: FOIA-2015-03858          ,..          '~
           Subject of Request: Schaeffer Cox/Specific Records-USAO Alaska


   Dear Mr. Cox:

           Your recent request for records from the Executive Office for United States Attorneys
   (EOUSA) has been received. Before the Executive Office can begin processing your request, it
   is necessary for you to correct one or more deficiencies. Please comply with the paragraph(s)
   checked below:

1. [ x ] A requester must provide a notarized example of his/her signature or a certification of
   identity under penalty of perjury. This insures that information pertaining to an individual is
   released only to that person, A form is enclosed for your use.
                                )


2. [ ] The files and recoids of United States Attorneys are maintained in over one hundred separate
   offices throughout the United States. Please identify the specific United States Attorney's
   office(s) where you believe records· may be located. This would be primarily the district(s) in
   which a prosecution or litigation occurred.

3. [ ] To insure that records are properly identifie,d, provide subject's full name, current address,
   and date and place of birth.

4. [ J A request must describe the records sought in sufficient detail to allow location of the
   records with a reasonable amount of effort (i.e., processing the request should not require an
   unduly burdensome effort or be disruptive of Department operations). Please provide more
   specific information about the records you seek, such as appropriate dates, locations, names,
   nature of the records, etc.

5. [ ] Please note that your original letter was split into separate files ("requests"), for processing
   purposes, based on the nature of what you sought. Each file was given a separate Request
   Number (listed below), for which you will receive a separate response:


           By making a FOIA/PA request, you agree to pay fees up to $25, as stated in 28 C.F.R. §
   16.3(c), unless you request a waiver of fees (according to requirements in 28 C.F.R. § 16.ll(k)).
   Indigency does not constitute a basis for a fee waiver. Please note that pursuant to 28 C.F .R. §
16.11, weCase    1:18-cv-02657-EGS
           are required  to charge fees forDocument
                                            time used to2 search
                                                            Filedfor
                                                                  06/09/17   Page you
                                                                     the documents  18 of  27
                                                                                        have
requested and for duplication of all pages released to you. Normally, search time is charged at a
rate of $28 per hour after the first two hours which are free, and duplication fees are $0.10 per
page after the first 100 pages which are free. Please do not send any payment at this time! If we
anticipate that fees will exceed $25 or the amount you state in your letter (if greater than $25),
we will norinally notify you of our estimate of fees. After we have received your agreement to
pay for the expected fees (or you have narrowed your request to reduce fees) and we have
processed your request, we will require payment for the accumulated charges before we release
any documents to you (in excess of 100 free pages). Without such payment, your request file
will be closed without further action.

       Once you have corrected the above deficiencies, please submit a new request for the
documents. This is a final determination and your request for information has been closed.
When we have received your new, corrected request, we will open a new file for you. Please
send your new, corrected request to the address above.

        This is the final action on this above-numbered request. You may appeal this decision on
this request by writing to the Office of Information Policy, United States Department of
Justice, 1425 New York Avenue, Suite 11050, Washington, D.C. 20530-0001. Both the letter
and envelope should be marked "FOIA Appeal." Your appeal must be received by OIP within
60 days from the date of this letter. If you are dissatisfied with the results of any such
administrative appeal, judicial review may thereafter be available in U.S. District Court, 28 CFR
§ 16.9.

                                                     Sincerely,




                                                     Susan B. Gerson
                                                     Assistant Director




[ ] Enclosure( s)




                                                                                    Fonn No. 003 - 6/12
                                                   Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 19 of 27


                                                                                                                            FRANCIS ,COX
                                                                                                                             16'179-006
                                                                                                                             USP Marion
                                                                                                                            PO Box 1000
                                                                                                                 MARION, IL 62959


                           u.s. Department of Justice
                           Executive Office for United States Attorneys
                           Freed6m of Informat~on & Pri~acy Staff
                           600 E Street, N.·W.
                           Suite 7300, Bicentennial Building
                           Washington,·oc 20530-0001
                                                .         .   r-... ...-:; --
                                                              ..., ~.                                                                              . - .'             (__/
                                                                                                                                                                        ' (,1 e'-'--'
                                                                                                                                                                                '')'
                                                                                                                        FoI-4-k.e-f-r;::.- oo          i. ; · .:                        .        .




                                           RE·:                     Request Number: t=D:LA- 2. ollj'-
                                                                    Subject of Request:~'Sc..l..'""""~
                                                                                                                  0 3 8 <!78
                                                                                                       c:!..s::::,xj'sl'ec.cf.,c
                                                                                                                                     CJ
                                                                                                                                 Re_c_ordS- US.-4<?
                                                                                                                                                     !J    . ...\
                                                                                                                                                    A{t:¢t<:c..
                                                                                                                                                                     c     /c~)
                           Dear Sirs:                                                                                        (}f&brcn:.ry    /']~ 3o.Z. fl-efJ<>~f                          en       ~~
                                Thi~ FOIA request is being re§ubmitted along with the
                           11
                            Certification of Identity" form your·office suppliad. However,
                           it should be .noted that· the original FOIA request did contain
                           such a certification. .                                                                                                 ·                                =




                             ·-·--· Yf the req.uest --wa.s· returned under pretext o:E-Ci~f·rcie!icy for
                           dilatory reasons, please do not count such wasted time against.
                           .any ·deadlines.        '

                                                                                                                                     Respectfully submitted,


                                                                                                                        By:




                                                                            .            :j....--L      ,/1
                                         cc-f 7
                                                                                                                  r-' , ..-L-.
                                                                                                                            ··---
                                                                                         1 ·l           /'--._
                                                                                                           •      ~     I     1/
                                                                                                                              './   .·
       .
           0           f   /1                                                                                                   ./



                                                                                                                 ._ I   f                                            - -..L'
                                                                                                                                                                   ~e~~"   .-   ~~t-'~,              - /1._ ~--1~
                                                                                                                                                                                f. •. - ../....., '·,_,.,
                                                                                                                                                                                                        -··
                                                                                                     1----~ .·    ·~ ~~-
                                                                      ..
  ,'::::::,..{ e::'.-'1.,-r-,         'jf-;i         ;;;,_.:""1V~               1!-i,
    ... ··? :::: :~~::~
..__...-.~.Jf-~. ·"" -.,___...·, .•
                                          /.~
                                          -
                                              ~ ·. _.--.~~. r_.i.      .:.·"1-·-·/·.1-
         Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 20 of 27



                            U.S. Department of Justice
                            Executive Office for United States A1/orneys
                            Freedom of Information & Privacy Staff
                            600 E Street. N. W.
                       Suite 7300. Bicentennial Building
                            Washington, DC 20530-0001
                                                                  f202J 252-6020   FAX: 252-6047   (www.usdoj.gov/usao/




                                                                       October 29, 2015

Francis Cox
#16179-006
P.O. BOX 1000
MCL."ion, Illinois 62959

       Re: Request Number: FOIA-2016-00171
       Date of Receipt: October 22, 2015
       Subject ofRequest: Self(Cox) Specific Records-USAO Alaska


Dear Mr. Cox:

       The purpose of this letter is to acknowledge receipt of your Freedom of Information
Act/Privacy Act request datfd October 6, 2015 and received in the Executive Office for United
States Attorneys (EOl!.SA) on October 22,2015. You requested records concerning Self(Cox)
Specific Records-USAO Alaska

       . Your request has been assigned Tracking Number FOIA-2016-00171.

        For your information, EOUSA assigns incoming requests to one of three tracks: simple,
complex, or expedited. Each request is then handled on a first-in, first-out basis in relation to
other requests in the same track. As an estimate, the likely median response time for simple
requests is approximately 30 business days, whereas complex requests necessarily take longer.
At this time, your request has been assigned to the Complex track.

         Please be advised that there may be certain costs associated with processing your request.
Consequently, you may be responsible for paying those costs, unless you have requested and
been granted a waiver or reduction in fees. In most instances, the first 100 pages to duplicate and
the first two hours to search for records responsive to your request, will be provid~d to you free
of charge. Thereafter, search and review fees by professional personnel are charged at $40 per
hour and duplication fees are assessed at five cents per page.

        Requests that are specific, concrete and of limited scope (in time and/or subject matter)
generally enable us to respond to you more quickly and possibly assess less fees. You may
decide to limit or reduce the estimated fees, or obtain a quicker response, by modifying your
request in one or more ways specified in the attachment to this letter. If after making those
         Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 21 of 27



allowances we determine that the cost to process your request will amount to more than $25.00,
we will notify you in writing at a later date.
        If you have any questions regarding any aspect of your case, you may contact EO USA by
telephone or in writing using the contact information listed above. Please refer to your assigned
tracking number, should you contact EOUSA seeking information about your request.

                                                    Sincerely,




                                                    Susan B. Gerson
                                                    Assistant Director


Attachment




                                                                                   Fonn No. 001 -6/12
                                               2
                           Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 22 of 27




                                .·


                                                                        Francis Cox       FOIA-2016-00171

                                                                                   CHOOSE ONE

     Please do not se         longer. I understand that I uu.r-..L...
Please do not search beyond two



__I wish to modify                                         request in an attempt to reduce fees ·or to obta·
follows:




£.gree to pay up to the                                             follo~ng
                                             amount for search time: $ ;2._                      :::9--                                  s-()
I understand that this payment is required even if no documents are located or released to
me. In the event that documents are located and released to me, I understand that I may be . _ r
charged duplication fees in addition to search fees. Tt,..,·s ~~ t:-. :L p~j c .::;-la<=u·..-.-t'--;-- ..L vc
r<=-f_r.re.<:+-e..J.. Y+j ,::;._......~Fe-r s<CJ2... J'ro . . .., "'-- 5/'.e"·-·&-·:- .A.t:.,_y Ri:u~·....-e..ry :er-r!-.
                                                                                        r ... r     '?
A._o II •
           •          -
                     .L. 7c. v!!:.. ~tt-JJ '7'... '-'{!.. ~-..; '1'·"t..·\.,"'r o-;:--
                                                                                   ,.:
                                                                                       -r ....-le..
                                                                                                         r-
                                                                                                     _.o '-
                                                                                                              ,-:;_,..)
                                                                                                             ~-'tv ..

 ·-'--:,:: ~~b,:""ec ~cr.f- ..;-~;· 1o'J.__            ;/Ja-,....J C/,'7-'.J r:,e c-S:S~)""·~- :·.;.- .:___.~ ~. ·~-~:· ~
1
    ..../1   ~ /..,:   .c /-.? ..."' ·. •.   -1-r.:::..... r t-r-        ;~c./ {-r'
                                                                                            •
                                                                                       vto~"r-   l ;'
                                                                                                        '. rY;?'i-'
                                                                                                             _..';1   ~ ,·. ~Jr ~ :"')   ~,....·~·:: ~::....   ~-
                                                                                                                                                                    c."',-c..-v"' ..-~ ,-::::. ~~ (lr·v:~,
    c...;_£.)      .   I      - ,._          .         -      .. ~ ,.          t   -             '\1                  v           \.:
                                                                                                                                                                                                             t.,~ <; t"..l .:'
                                                                                                                                    Date                                                                     -·
                                                                                                                                         /0-3::- {5"
                                                                                                                                                                        ~Cox
EOUSA
FOIAIPA
600 E Street, N.w~; Room 7300
Washington, DC 20530
                                                                                            3
             Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 23 of 27



     IV.      STATEMENTOFCLAIM

              A.      State here, as briefly as possible, when, where, how, and by whom you feel
                      your constitutional rights were violated. Do not include legal arguments of
                      citations. If you wish to present legal arguments or citations, file a separate
                      memorandum of law. If you Llltend to "llege a number of related claims,
                      number and set forth each claim in a separate paragraph. If your claims
                      relate to prison disciplinary proceedings, attach copies of the disciplinary
                      charges and any disciplinary hearing summary as exhibits. You should also
                      attach any relevant, supporting documentation.
           This is a suit brought pursuant to the Freedom of Informat-

ion, and, Privacy Acts, 5 USC §552-552a, for failure to timely

respond, or, to adequately respond, to the following FOIAPA re-

quests:


COUNT ONE:             The Federal Bureau of Investigation ("FBI") has fail-

ed to timely respond to a request made by Cox February 15, 2017,

for all records in its possession regarding himself.                                 On March 8,

2017, the FBI qid ~end a response acknowledging the request •
               •
Hqwever, the FBI failed to respond within the statutory 20 days.

5 USC §552(a), (b)(A)(i).                    As the FBI did not timely respond, Cox

now moves the Court to order said response.


COUNT TWO:             The Bureau of Alcohol, Tobacco, and, Firearms,
    11
(        BATF"), has similarly failed to timely respond to a request

made by Cox February 15, 2017, for all records in its possession

regarding himself.                 Though Cox did send a certification of ident-

ity form with his request, on March 15, 2017, he received a let-

ter asking him to return such a certification.                              The form was re-

turned March 21, 2017, but, no timely response has been made.

As the BATF did not timely respond, Cox now moves the Court to

order said response.

     (Rev. 7 /2010)                                       5
     Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 24 of 27
COUNT THREE:   The Executive Office of US Attorneys ("EOUSA") has

failed to timely respond to two FOIA requests:

    (a)   On August 12, 2015, Cox made request for an FD-1023 form

          memorializing a February 19, 2011, meeting conducted

          with Cox by a federal confidential informant ("CI"),

          J.R. Olson, and, reflected in testimony given by Special

          Agent ("SA") Westerhouse.    Though a certification of id-

          entity was mailed with the request, on September 23,

          2015, Cox received a letter requesting that said form be

          returned.   On October 7, 2015, Cox remade the request,

          and, included a second certification of identity.           On

          October 29, 2015, the EOUSA acknowledged receipt of the

          request.    No further response has been received.

    (b)   On August 18, 2015, Cox made a request for an accout of

          all monies spent on a law enforcement investigation re-

          lated to the November 2009 "Continental Congress 2009",

          held at the Pheasant Run Resort in Illinois.        No re-

          sponse was received.

As neither request was responded to in a timely manner, Cox now

moves the Court to order said response.
          Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 25 of 27



  V.       REQUEST FOR RELIEF

           State exactly what you want this court to do for you. If you are a state or federal
           prisoner and seek relief which affects the fact or duration of your imprisonment (for
           example: illegal detention, restoration of good time, expungement of records, or
           parole), you must file your claim on a h EJ.b eEJ.s corpus form, p,_~Sl_lE'..nt to 28 U.S.C.
           §§ 2241, 2254, or 2255. Copies of these forms are available from the clerk's office.

          Cox asks the Court to order the respons e of all request e d

          records, and, to grant him the fees and costs o f this act-

          ion , as well as o ther relief as the Court sees fit.



  VI.      JURY DEMAND (check one box below)

           The plaintiff 0 does l:Xdoes not request a h·ial by jmy.



            DECLARATION UNDER FEDERAL RULE OF CIVIL PROCEDURE 11
                              ,
  I certify to the best._of my know ledge, information, and belief, that this complaint is in full
  compliance with Rule 11(a) and ll(b) of the Federal Rules of Civil Procedure. The
  undersigned also recognizes that failure to comply with Rule 11 may result in sanctions.




                   -J d·/1~ :f_ff AU /-:;-
  Signed on:
                           (date)

USP-Mari o n PO Box 1000                                     Francis Schaeffer Cox
                    Street Address                                      Printed Name

  Marion, Illinois 62959
                    City, State, Zip                             Prisoner Register N umber



                                       Signature of Attorney (if any)




  (Rev. 7 /2010)                                         6
                           Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 26 of 27


                                                II ' 111 111111 11' I I' '11 111 'I IIIII d1"11·· '1 1111' 111111111 1        "'"'>
Ff""4~ ,-~ ~.. ~e/ C:> ~                                                                                                      "'
                                                                                                                              "'
t61c:rcr- ~0·                                                                                                                 0
                                                                                                                              ~




US Pe"'~-J-e~+~'4ry
p ()    ~""'    l (.) 0 .::=J
'11."'-.c,"o "; I   L..   ~2- q~4




                                                         ~ 16179 - 006 ~
                                                                        District Court
                                                                        Clerk of Court
                                                                        301 W MAIN ST
                                                                        Benton, IL 6281 2
                                                                        United States




                                                              l~cJSf.o~                   \1.                     ~'<
                                                                           d"f..) A e.. ,1_            sr;        2-o 1. ;f
Case 1:18-cv-02657-EGS Document 2 Filed 06/09/17 Page 27 of 27
